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     Bruce Locke (#177787)

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 4   916-569-0667
 5   Attorneys for Sharice Williams
 6                                    UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES,
                                                     No. 2:15-CR-185 TLN
11                             Plaintiff,

12                  v.                               STIPULATION AND ORDER TO

13   SHARICE WILLIAMS,                               CONTINUE THE STATUS CONFERENCE

14                             Defendant.            TO JUNE 30, 2016

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20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for May 12, 2016 at

23   9:30 a.m., should be continued to June 30, 2016 at 9:30 a.m., and that time under the Speedy Trial

24   Act should be excluded from May 12, 2016 through June 30, 2016.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and discuss the proposed plea agreement with Ms.
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     Williams and to conduct plea negotiations. The discovery includes several video tapes. The
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     exclusion of time is also necessary to ensure continuity of counsel. Accordingly, the time
     between May 12, 2016 and June 30, 2016 should be excluded from the Speedy Trial calculation

 2   pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense

 3   preparation. The parties stipulate that the ends of justice served by granting this continuance

 4   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
     §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading for him.
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 6          Date: May 9, 2016                            /s/ Bruce Locke
 7                                                      BRUCE LOCKE
                                                        Attorney for Sharice Williams
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 9
            Date: May 9, 2016                            /s/ Bruce Locke
10
                                                        For ROGER YANG
11                                                      Assistant United States Attorney

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13          IT IS SO ORDERED.
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15          Dated: May 9, 2016
                                                      Troy L. Nunley
16                                                    United States District Judge

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